                       IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

--------------------------------------------------------- X
JASON WILLIAMS,                                           :
                                                          : Case No. 5:19-cv-00475-BO
                            Plaintiff,                    :
                                                          :
               vs.                                        :
                                                          :
AT&T MOBILITY LLC,
                                                          :
                            Defendant.                    :
--------------------------------------------------------- X




     PLAINTIFF JASON WILLIAMS’ MEMORANDUM OF LAW IN OPPOSITION
         TO DEFENDANT AT&T MOBILITY LLC’S MOTION TO COMPEL
       TO PRODUCE DOCUMENTS AND RESPOND TO INTERROGATORIES




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                                        INTRODUCTION

       Defendant AT&T Mobility LLC’s (“AT&T”) motion seeking to compel additional

discovery responses from and requesting sanctions against Plaintiff Jason Williams is frivolous

and should be denied in its entirety. Having had its motion to dismiss denied in its entirety,

Defendant now seeks to limit Mr. Williams’ claims because he lost access to certain documents

due to Defendant’s own failures.

       Since day one, Defendant has attempted to avoid responsibility for its actions, and this

motion is yet another attempt. Because of Defendant’s repeated failures to protect Mr. Williams

from multiple SIM Swaps, Mr. Williams had his private information stolen by criminal hackers.

Moreover, the hackers were able to hijack his phone and, among other things, his email and bank

accounts. To this day, he cannot access certain of these accounts, including his main personal

email account that he used in connection with his financial and cryptocurrency accounts.

       Mr. Williams has undertaken significant efforts to recover access to these accounts and

obtain relevant documents from non-parties outside of Mr. Williams’ control, and those efforts

go beyond the requirements of the Federal Rules of Civil Procedure (the “Rules”). His efforts

have been somewhat successful thus far. For example, he was able to recover his account

information from the cryptocurrency exchange Coinbase, which confirmed that hackers used his

Coinbase account to engage in cryptocurrency transactions and used Mr. Williams’ compromised

Gmail account to impersonate Mr. Williams and communicate with Coinbase.

       More fundamentally, Mr. Williams has been transparent and cooperative with Defendant

throughout this whole discovery process, by (1) informing Defendant of his third-party discovery

efforts, (2) working directly with Defendant to accomplish some of those efforts, and (3)

disclosing all responsive information produced by those third parties. Defendant disingenuously

and purposefully omits this from its motion.



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            Moreover, Mr. Williams has made more than reasonable efforts to search for and produce

     responsive documents within his control, has transparently explained those efforts to Defendant,

     and has worked in good faith to respond to Defendant’s numerous questions regarding his

     searches and document productions. Defendant’s requested sanctions and complaint regarding

     Mr. Williams’ response to one of Defendant’s interrogatories are blatantly improper attempts to

     limit Mr. Williams’ claims after the motion to dismiss stage and before summary judgment.

     These sanctions are unwarranted by facts, unsupported by the law, and absurd on their face.

            The complete lack of merit in Defendant’s motion, coupled with Defendant’s filing of

     this motion less than 24 hours before oral argument regarding Defendant’s own discovery

     deficiencies, suggests this motion is nothing more than a tit-for-tat attempt to distract the Court.

     The Court should deny the motion. Additionally, Mr. Williams renews his request, pursuant to

     Rule 37(a)(5), for reimbursement of his reasonable expenses for (1) having to file his own

     motion to compel to secure any responsive emails from Defendant and (2) for having to waste

     time and effort responding to this frivolous motion.

                                                ARGUMENT

I.      Mr. Williams’ Responses to Defendant’s Document Requests Are Not Deficient

        a. Mr. Williams Has Made More than Reasonable Efforts to Search for Responsive
           Documents, and Cannot Be Compelled to Produce Documents He Does Not Have

            Mr. Williams’ AT&T cellular phone account was “SIM swapped” on seven occasions in

     2018 and 2019 (the “SIM Swaps”), causing him to lose access to his electronic accounts. (See

     Doc. 1 (“FAC”) ¶¶ 22, 85.) He still does not have access to many of those electronic accounts,

     including his personal Gmail account, and his Coinbase and Slush Pool cryptocurrency accounts.

     (Id.) Mr. Williams has been entirely transparent about his inability to search for documents in

     those accounts, and Defendant is fully aware that Mr. Williams does not have custody or control



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of documents from those accounts. (See Mar. 12, 2021 Declaration of Michael J. Breslin

(“Breslin Decl.”), Doc. 61-1, Ex. M at 14.) Defendant characterizes this as “inconvenient,” but it

is impossible for Mr. Williams to search those hacked accounts for responsive documents.

       In light of this, Mr. Williams’ good-faith efforts to provide responsive documents and

information to Defendant have been more than reasonable. Mr. Williams has searched for and

produced responsive documents from his work email account, which he has been forced to use as

a personal account since the SIM Swaps occurred. Additionally, Mr. Williams had the

wherewithal to document some of his interactions with Defendant, the hackers’ actions, and his

attempts to deal with these repeated intrusions into his email and financial accounts.

Accordingly, Mr. Williams searched his current cell phone for and produced responsive

photographs of text communications, security alerts, and other images that he took and sent to

the FBI during and shortly after the SIM Swaps. (See Breslin Decl. ¶¶ 8, 11, 20.) He also kept,

and has produced, a detailed real-time chart documenting these events, including his

communications with Defendant and the FBI. As Mr. Williams has explained to Defendant,

because the subject of those photographs is a cell phone that is no longer operable, he is unable

to produce the original versions of the text communications and other images displayed in

photographs. (See Breslin Decl., Ex. M at 13.) Mr. Williams is unable to conjure up documents

that were stolen from him, or that never existed, but Mr. Williams has repeatedly searched for

and produced the responsive documents he possesses, as required by the Rules. See Fed. R. Civ.

P. 34 (a party must produce documents within his “possession, custody, or control”).

       Additionally, Mr. Williams has repeatedly met and conferred with Defendant in good

faith regarding his discovery obligations. Unlike Mr. Williams’ repeated efforts to confer with

Defendant regarding its failure to produce responsive communications, the parties’ meet and




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confer efforts regarding Mr. Williams’ discovery have been productive. In the parties’ numerous

meet and confer communications, Mr. Williams’ counsel has provided detailed explanations to

Defendant’s counsel regarding his efforts to provide responsive documents, including

explanations regarding the images Mr. Williams produced. (See e.g. Breslin Decl., Ex. M at 13-

15.) Mr. Williams has also responded to Defendant’s numerous questions about his productions,

and provided additional information when he was able to locate it. (See e.g. Breslin Decl., Ex. M

at 13; March 29, 2021 Decl. of Christopher LaVigne (“LaVigne Decl.”), Ex. A at 1.)

       Defendant’s motion conveniently ignores Mr. Williams’ detailed and transparent

explanations of his discovery efforts, and simply asserts without justification that certain

categories of documents are “missing” from Mr. Williams’ production. (See Mem. in Support of

AT&T Mobility LLC’s Mot. to Compel Plaintiff Jason Williams to Produce Documents and

Respond to Interrogatories (“Defendant’s Moving Brief”), Doc. 62, at 2.) The baselessness of

Defendant’s motion is exemplified by Mr. Williams’ production of documents regarding his

cryptocurrency mining expenses – one of the central claims underpinning Defendant’s motion.

(See Defendant’s Moving Brief at 4.) The timing of Mr. Williams’ production of the mining

expenses documents is easily explained. On January 8, 2021, Defendant served its Second Set of

Requests for Production of Documents to Mr. Williams. (See Breslin Decl., Ex. K.) These

requests sought portions of Mr. Williams’ tax returns regarding his cryptocurrency mining

activities. In response to that request, Mr. Williams sought to obtain the relevant tax returns from

his accountant. In doing so, Mr. Williams discovered that his accountant also had copies of

documents regarding his mining expenses – documents that were not in his own records. Mr.

Williams obtained those documents, and produced them to Defendant when he produced the




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requested tax returns on March 10, 2021. (See Breslin Decl. ¶ 20.) The discovery and production

of these documents is entirely reasonable and accords with his ongoing discovery obligations.

       Defendant did not attempt to meet and confer with Mr. Williams about these documents.

Instead, Defendant filed the present motion in violation of Local Civil Rule 7.1(c) (“Counsel

must also certify that there has been a good faith effort to resolve discovery disputes prior to the

filing of any discovery motions”). It was more important for Defendant to file this motion the

day before oral argument regarding Mr. Williams’ motion to compel than it was for Defendant to

make a good faith effort to ascertain if Mr. Williams’ discovery conduct was reasonable.

   b. Mr. Williams’ Good-Faith Efforts to Obtain Responsive
      Documents from Third-Parties Have Been More than Reasonable

       Defendant’s motion seems to imply that Mr. Williams can be compelled to issue Rule 45

subpoenas to non-parties of Defendant’s choosing, on the grounds that documents held by those

non-parties are actually under Mr. Williams’ “possession, custody, or control.” (See Defendant’s

Moving Brief at 7.) The one case that Defendant cites in this section of its moving papers does

not stand for that proposition; to the contrary, that case does not mention subpoenas, nor does it

even explicitly concern obtaining of documents from non-parties. See Wan Wang Case v. Case,

No. 5:20-CV-42-BO, 2020 WL 7061388, at *4 (E.D.N.C. Dec. 2, 2020). Defendant cites no legal

authority that requires a party to a litigation to issue subpoenas to non-parties under Rule 45, and

Mr. Williams is unaware of any such authority.

       Regardless, Mr. Williams has undertaken extensive efforts to do obtain information from

third parties. In addition to the documents Mr. Williams obtained from his accountant as

described above, Mr. Williams has issued subpoenas to five non-parties for documents outside of

his control, including Coinbase, and provided to Defendant all of the documents he received in

response to those subpoenas. (See LaVigne Decl., Ex. B at 1; Breslin Decl., Ex. M at 2.) At



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Defendant’s request,1 Mr. Williams and Defendant have jointly sought documents from another

non-party cryptocurrency company Slush Pool. (See LaVigne Decl., Ex. C.) In addition, Mr.

Williams’ counsel has separately communicated with Google’s legal support group in attempt to

restore Mr. Williams’ access to his former Gmail account.2 (See Breslin Decl., Ex. M at 4.)

       Defendant’s motion ignores Mr. Williams’ extensive efforts to obtain relevant documents

from non-parties, in some cases in cooperation with Defendant, and instead mischaracterizes Mr.

Williams as uniformly unwilling to make efforts to collect documents from third-parties. This

could not be farther from the truth and Defendant’s arguments otherwise are merely a distraction.

    c. Defendant’s Requested Sanctions are Factually and Legally Unsupported

       The baseless nature of Defendant’s motion is compounded by the extraordinary and

unprecedented relief it seeks. (See Doc. 61-2 “Chart of Estoppel or Inference Sanctions

Requested” (“Defendant’s Sanctions Chart”).) Defendant’s Sanctions Chart contains nine

purported categories of “Materials Requested” by Defendant, and proposes a “Suggested

Estoppel or Inference” if Mr. Williams fails to produce documents per those categories.

       Defendant’s Sanctions Chart is, for lack of a better word, absurd. Defendant does not

argue that Mr. Williams should be sanctioned for improperly withholding or destroying

documents (neither of which he has done). Instead, Defendant appears to argue that Mr.

Williams should be sanctioned because he has not produced documents that he has not located,

may or may not exist, and are not within his possession, custody, or control. For example,

Defendant appears to argue that if Mr. Williams cannot locate and produce copies of documents

containing “sensitive or personal information that ‘was compromised as a result of the SIM



1
 While Defendant complains of Mr. Williams’ efforts, it has issued no subpoenas to date.
2
 Thus far, Google has not been able to restore Mr. Williams’ access to his account. Mr. Williams
has not yet issued a formal subpoena, because Google is still attempting to restore access.


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swaps,’” then Mr. Williams should be “estopped from asserting hackers accessed any such

information that is not substantiated by appropriate documentation produced in discovery.” (See

Defendant’s Sanctions Chart at 4.) In other words, Defendant’s position is that because they

allowed this information to be stolen, Mr. Williams can have no legal claim because he cannot

produce the stolen information. If this were the law, the Court would have dismissed the

Complaint. As Mr. Williams has explained to Defendant, certain of his personal information was

stolen by hackers when he was SIM Swapped, and he has not regained access to the accounts in

which that information was stored, including his personal Gmail account. (See e.g. Breslin Decl.,

Ex. M at 13-15.) Defendant’s position is illogical, at best, and smacks of bad faith.

       Moreover, Defendant’s moving papers fail to explain why it is legally entitled to the

sanctions it requests. The one case that Defendant cites is factually inapposite, makes no mention

of either negative inference or estoppel discovery sanctions, and illustrates the absurdity of its

motion. The court in Southern States Rack And Fixture, Inc. v. Sherwin-Williams Co., 318 F.3d

592 (4th Cir. 2003), affirmed the district court’s exclusion under Rule 37(c)(1) of an expert

opinion offered for the first time at trial. The court’s reasons for excluding that testimony are far

from present here. Indeed, there is no issue of a belated disclosure causing surprise at or

disruption of the trial, as the parties are still in the early stages of discovery and Mr. Williams has

been clear since filing his complaint that Defendant caused him to lose access to important

confidential electronic accounts. Id. at 596. Furthermore, the court’s analysis of sanctions under

Rule 37(c)(1) illustrates just how ridiculous Defendant’s requested sanctions are. First, the main

inquiry under this rule is whether “nondisclosure of evidence is substantially justified.” Id. Here,

the nondisclosure of any evidence is entirely justified as it is Defendant’s fault. (See FAC ¶¶ 22,

85; the Court’s March 25, 2020 Order denying Defendant’s Motion to Dismiss (“MTD Order”),




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      Doc. 20, at 7-8.) Second, the entire Rule 37 sanctions analysis regarding nondisclosure is

      whether a court should exclude belated disclosure of certain evidence. S. Sts. Rack & Fixture,

      Inc., 318 F.3d at 597. Here, Mr. Williams will be not able to offer at trial documents that he does

      not possess or cannot regain access to. Knowing this, Defendant requests that the Court estop or

      significantly hinder Plaintiff from proving AT&T caused Plaintiff’s accounts to be breached.

      This relief is untethered from any reasonable reading of Southern States Rack or Rule 37.

             Additionally, Defendant’s other citations to Rule 37(b) and (e) demonstrate the frivolity

      of its motion. Mr. Williams has neither failed to comply with a discovery order from this Court

      (Fed. R. Civ. P. 37(b)) nor engaged in spoliation of ESI (Fed. R. Civ. P. 37(e)). Mr. Williams has

      not refused to turn over any responsive documents that he has located. Mr. Williams has

      responded to Defendant’s questions about his document searches and productions, and has

      worked to obtain relevant documents from non-parties. It is not clear what Defendant is asking

      the Court to compel Mr. Williams to do, other than to continue trying to locate documents that

      Defendant claims (but cannot demonstrate) Mr. Williams possesses or controls. In these

      circumstances, Defendant’s motion to compel and for sanctions should be denied.

II.      Mr. Williams’ Response to Defendant’s Interrogatory No. 11 is Not Deficient

             Defendant failed to dismiss Mr. Williams’s North Carolina Unfair and Deceptive Trade

      Practice Act (“UDTPA”) claim on the grounds that Mr. Williams’s UDTPA claim was not

      pleaded with sufficient particularity under Rule 9(b). (See MTD Order at 9-10.) In denying

      Defendant’s motion to dismiss, the Court held that it was “satisfied the requirements of Rule 9(b)

      are met.” (Id.) Defendant appears to be using this motion to improperly re-litigate its

      unsuccessful motion to dismiss Mr. Williams’ UDTPA claim.

             Defendant’s Interrogatory No. 11 asks Mr. Williams to “[d]escribe each allegedly false

      representation or omission by AT&T that you contend supports any of your claims in this


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Action.” Because Mr. Williams’ properly pleaded allegations regarding Defendant’s false

statements do exactly that, Mr. Williams incorporated those allegations into his responses to

Defendant’s Interrogatory No. 11. (Breslin Decl., Ex. D at 13; id., Ex. H at 4-6.) These responses

fully answer Defendant’s Interrogatory No. 11, and therefore comply with his discovery

obligations. See Fed. R. Civ. P. 33(b)(3) (“Each interrogatory must, to the extent it is not

objected to, be answered separately and fully in writing under oath”).

       These responses do not prejudice Defendant’s ability to defend itself in this action. Mr.

Williams’ allegations of false statements fall into two categories: (1) statements made by

Defendant’s employees and/or agents to Mr. Williams regarding his AT&T account (FAC ¶¶ 46,

47, 51, 52, 57, 58, 63, 64, 65, 71, 74, 75, 78, and 80); and (2) statements made by Defendant to

its customers, including Mr. Williams, regarding Defendant’s protection of customer data and

privacy (FAC ¶¶152-174). Both categories of alleged false statements are consistent with the

discovery Mr. Williams has sought in this case: discovery regarding Defendant’s efforts, or lack

thereof, to protect its customers’ data and privacy from SIM Swaps like the ones suffered by Mr.

Williams. Defendant cannot reasonably be surprised by these discovery efforts based on Mr.

Williams’ claims regarding Defendant’s false statements (and negligence), nor are they a

“fishing expedition” (a claim denied by the Court in granting Mr. Williams’ motion to compel).

       Additionally, Defendant’s moving papers offer no binding authority to support its

argument that Mr. Williams’ responses are insufficient and must be supplemented. (See

Defendant’s Moving Brief at 9-10 (citing a Colorado case and a Utah case).) As a practical

matter, and as Mr. Williams explained to Defendant (see Breslin Decl. Ex. M at 25-26)3, Mr.


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 As the meet and confer record indicates, the parties have not discussed Defendant’s Interrogatory
No. 11 since November 2020. It is telling that Defendant waited to raise this issue again in its
motion the day before the hearing regarding Defendant’s own discovery deficiencies.


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       Williams has not learned anything in discovery that would change the substance of his

       allegations regarding Defendant’s false statements (in part because until Mr. Williams filed his

       motion to compel, Defendant had produced no responsive communications). It remains the case

       that Mr. Williams’ AT&T account was repeatedly SIM Swapped, and that Mr. Williams has

       good reason to believe that Defendant’s statements regarding the protection of his account were

       false. Accordingly, Mr. Williams need not supplement his responses to Defendant’s

       Interrogatory No. 11, and Defendant’s motion to compel on this issue should be denied.

III.      Defendant Should Be Held Responsible for Mr. Williams’
          Reasonable Expenses in Making and Responding to These Discovery Motions

              Defendant failed to produce its responsive emails prior to Mr. Williams’s motion to

       compel. (See Doc. 57, at 9-10). That motion was granted (see Doc. 65), Mr. Williams never

       should have had to make it in the first place and Defendant offered no substantial justification for

       its failure to produce these documents. Wan Wang Case, 2020 WL 7061388, at *7 (“The moving

       party must, absent certain specified circumstances, be awarded expenses when a motion to

       compel discovery is granted” or “if the disclosure or requested discovery is provided after the

       motion was filed”). Now Mr. Williams is forced to respond to this meritless motion. Therefore,

       reimbursement of Mr. Williams’ reasonable expenses, including attorney’s fees, is warranted

       under Rules 37(a)(5)(A) and (a)(5)(B), respectively.

                                                CONCLUSION

              For the foregoing reasons, Plaintiff respectfully requests this Court deny Defendant’s

       motion to compel and for sanctions in its entirety.




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Dated: March 29, 2021
       New York, New York
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